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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

UNITED STATES OF AMERICA


VS.                                           CASE NO: 3:23-cr-180-HES-SJH

NOAH MICHAEL URBAN
                                    /



                                  ORDER

      Before the Court is the Government's Ore Tenus Motion to Continue

Trial filed in open court on October 23, 2024. The Defendant has no objection

to this continuance.    Upon consideration, this Court finds: (1) that the

Government has shown satisfactory grounds for such continuance; (2) that

accordingly such continuance will serve the interests ofjustice to allow defense

counsel to investigate this case and prepare for the trial; (3) that the

continuance requested by the Government is advantageous to both government

and the defendant; (4) such continuances are in the interest of justice and

excludable under the Speedy Trial Act; and (5) such continuance will allow

counsel additional time to finalize plea negotiations.

      Accordingly, it is ORDERED:

      1.      The Government's Ore Tenus Motion to Continue Trial is

GRANTED;

      2.   The Defendant herein is rescheduled for status conference on
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Wednesday, November 20, 2024, at 1:30 p.m., and jury trial set for trial

term commencing on Monday, December 2, 2024, at 9:30 a.m., in Courtroom

l0C, Tenth Floor, United States Courthouse, 300 North Hogan Street,

Jacksonville, Florida;

      DON E AN D ORDERED at Jacksonville, Florida, this 2 3�ay of

October, 2024.




Copies to:

      John Cannizzaro, Esq.
      Kathryn Sheldon, Esq.
      U.S. Marshal
      U.S. Probation




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